Case 23-11161-JKS Doc 688 Filed 01/04/24 Pagelof1

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
Chapter 11
Prime Core Technologies Inc., et al.,!
Case No. 23-11161 (KS)
Debtors.
(Jointly Administered)

SUPPLEMENTAL AFFIDAVIT OF SERVICE

I, Monica Arellano, depose and say that 1 am employed by Stretto, the claims and noticing
agent for the Debtors in the above-captioned cases.

On December 23, 2023, Stretto in accordance with USPS forwarding instructions served
the following document via first-class mail on one (1) confidential party not included herein:

e Notice of Amendment to Confirmation Schedule (Docket No. 367)

Furthermore, on or before December 26, 2023, Stretto in accordance with USPS
forwarding instructions served the following document via first-class mail on four (4) confidential
parties not included herein:

e Notice of Filing of Supplement to Disclosure Statement Pursuant to Section 1125 of
the Bankruptcy Code with Respect to the Joint Chapter 11 Plan of Reorganization
for Prime Core Technologies Inc. and Its Affiliated Debtors and Redline Thereof
(Docket No. 487)

Dated: January 3, 2024 Wm. bia

: —
Monica Arellano

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the
truthfulness, accuracy, or validity of that document.

State of California,
County of Orange

Subscribed and sworn to (or affirmed) before me on this 3"! day of January, 2024, by Monica
Arellano, proved to me on the basis of satisfactory evidence to be the person who appeared before
me.

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( > STEPHANIE MORALES
= = fac Notary Public - California
5; . cea —_— zf | Orange County z
Signature: “——— >< 5 EY commission # 2447258
cS q SSE’ My Comm, Expires May 16, 2027

' The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification number
are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime Digital LLC
(4528). Prime Trust, LLC’s service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
